IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

COMMONWEALTH of : CIVIL ACTION—-LAW
PENNSYLVANIA, :
PENNSYLVANIA GAME
COMMISSION,
Plaintiff : CASE NO. 1:12-CV-1567
VS. JUDGE: Christopher C. Connor

THOMAS E. PROCTOR HEIRS

TRUST,
[ELECTRONICALLY FILED]

Defendant

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1. Statement of the Question Involved.

A. Quiet title action—possession of the property. Establishing that the
plaintiff possessed the property at the time the proceeding was instituted
is a jurisdictional prerequisite for and element of a quiet title action
seeking an order to compel the defendant to bring an ejectment action.
The Pennsylvania Game Commission’s Complaint lacks any facts
establishing that it possessed the premises’s coal, oil, gas, petroleum, and
mineral rights at the time it filed the Complaint. Has the Game
Commission established this jurisdictional prerequisite for and element of
its quiet title action?

2. Statement of the Case.
A. Procedural history.

On August 10, 2012, the Commonwealth of Pennsylvania, acting through
the Pennsylvania Game Commission, filed a Complaint naming the Thomas E.
Proctor Heirs Trust as a defendant. The Complaint alleged an Action to Quiet Title
against the Trust with respect to the coal, oil, gas, petroleum, and mineral rights
pertaining to approximately 2,481 acres, more or less, located in Davidson and
Laporte Townships, Sullivan County, Pennsylvania. By way of relief, it sought an
order from this Court directing the Trust to “bring an appropriate action within
thirty days against the [Game Commission] and, if no such action was brought, to
declare the Trust’s rights to the premises’s coal, oil, gas, petroleum, and minerals
null and void and that the Game Commission was the “indefeasible owner of the

fee simple absolute” in the premises. (Complaint, 10-11).
On August 25, 2012, the Game Commission filed a Motion for Extension of
Time for Defendant to Respond to Complaint. (Doc. 3). On August 27, 2012, the
Court issued an order granting the Motion. (Doc. 4). The Court set November 30,
2012 as the deadline for the Trust to file a response to the Complaint. (Id.).

On November 30, 2012, the Trust filed a Motion to Dismiss with respect to
the Complaint. (Doc. 6). Pursuant to Rule 12(b)(6) of the Federal Rules of Civil
Procedure, the Trust sought dismissal of the Game Commission’s Complaint and
all of the claims asserted therein, because the Game Commission failed to state a
claim upon which relief may be granted. The Game Commission failed to plead
any facts establishing that it possessed the premises’s coal, oil, gas, petroleum, and
minerals at the time it filed its Complaint. This failure means that the Game
Commission has failed to establish a jurisdictional prerequisite for and element of
its alleged quiet title action.

Pursuant to Middle District L.R. 7.5, the Trust submits this brief in support
of its Motion to Dismiss.

B. Statement of facts.
The Game Commission has alleged the following facts in its Complaint.
(1) The Parties.
The Pennsylvania Game Commission and the Thomas E. Proctor Heirs Trust

are the parties to this civil action. The Game Commission is an independent
administrative agency of the Commonwealth of Pennsylvania. (Complaint, § 1).
The Trust is a Massachusetts trust. (Id. at J] 2, 3). Its beneficiaries are the heirs of
Thomas E. Proctor, Sr. The heirs claim to own mineral interests in Pennsylvania,
which derive from Proctor, Sr. (Id. at ] 16). Under a Declaration of Trust dated
October 28, 1980, a majority of the Proctor heirs conveyed their Pennsylvania-
mineral interests to the Trust. (Id.).

(2) The Premises.

The property at issue is approximately 2,481 acres, more or less, located in
Davidson and Laporte Townships, Sullivan County, Pennsylvania. (Complaint,
5). It is comprised of six warrants in the names of Robert Irwin, Francis Nichols,
John Brady, Thomas Hamilton, Charles Irwin, and William Meylert (No. 2). (Id.
at ¢ 6). The premises is part of Pennsylvania State Game Lands No. 13, and the
Game Commission has designated it as part of contract number L-44. (Id. at ] 8).

(3) The Trust’s claim to the premises’s coal, oil, gas, petroleum, and mineral
rights.

The Trust believes and has asserted that it owns the premises’s coal, oil, gas,
petroleum, and mineral rights. (Complaint, J] 2, 24). In line with this belief and
assertion, the Trust has tried to convey its oil and gas rights. (Id. at § 24).

The Trust’s claim to ownership of and title to the premises’s coal, oil, gas,
petroleum, and mineral rights relies on two deeds. The first is a deed between

Thomas E. Proctor, Sr. and Emma H. Proctor, his wife, and the Union Tanning
Company dated October 30, 1894. (Complaint, J 11a). It contained a reservation
of the premises’s coal, oil, gas, petroleum, and mineral rights. (Id.). It stated that

Proctor, Sr. did:

reserve and save to himself, his heirs and assigns all the minerals,
coal, oil, gas or petroleum found in or under the surface of the land
described in each of the above mentioned divisions.

(Id.).

The second deed was one dated September 17, 1897 between O.B. Grant and
Sarah M. Grant, his wife, and Emma H. Proctor, James H. Proctor, Anne P. Rice,
Emily W. Proctor, Thomas E. Proctor, Jr. (Complaint, § 11b). Through it, the
Grants quitclaimed their interest in the premises’s coal, oil, gas, petroleum, and
mineral rights that they acquired through treasurer’s deeds. (Id.). The deed stated

that the Grants quitclaimed:

all the right, title, interest and estate acquired by the parties of the
first part hereto under and by virtue of forty-two several treasurer’s
Deeds from A.L. Smith, Treasurer of Sullivan County,
Pennsylvania to O.B. Grant, dated September 21, 1896, of, in and
to the minerals, coal, oil, gas or petroleum found on or under the
surface of the lands described in said Treasurer’s deeds.

(Id.).

(4) The Game Commission’s claim to the premises’s coal, oil, gas, petroleum,
and mineral rights.

The Game Commission also claims ownership of and title to the premises’s
coal, oil, gas, petroleum, and mineral rights. (Complaint, {ff 10, 21, 22). Its claim

relies on a tax sale and two subsequent conveyances.
On June 8, 1908, the premises was sold at a tax sale. (Complaint, § 12). At
the time, the premises was unseated, and the oil, gas, and mineral estates were not
separately assessed. (Id. at {§ 17, 18). C.H. McCauley purchased the premises at
the tax sale. (Id. at § 12). On December 1, 1908, he was issued 6 treasurer’s deeds
for the six warrants comprising the premises. (Id. at {J 12a-12f).

In a deed dated December 6, 1910, McCauley and his wife, Florence M.
McCauley, conveyed the premises (and the premises’s coal, oil, gas, petroleum,
and mineral rights) to the Central Pennsylvania Lumber Company. (Complaint,
13).

In a deed dated December 31, 1924, the Central Pennsylvania Lumber
Company conveyed the premises (including its coal, oil, gas, petroleum, and

mineral rights) to the Game Commission. (Complaint, § 7).

3. Argument.

A. The Game Commission has failed to state a claim upon which relief may be
granted, because it has failed to plead sufficient facts establishing a
jurisdictional prerequisite for and element of its quiet title action.

(1) To establish its quiet title action, the Game Commission must plead facts
demonstrating that it possessed the premises’s coal, oil, gas, petroleum,
and mineral rights at the time it filed its Complaint.

Pennsylvania law permits a person in possession of property to bring an

action against a person that is not in possession of the property, but asserts a claim
to or interest in the property, to compel that person to bring an ejectment action or
forever be barred from attacking the possessing person’s title. Siskos v. Britz, 567
Pa. 689, 699, 790 A.2d 1000, 1006 (2002); Schimp v. Allaman, 353 Pa. Super. 232,
235, 509 A.2d 422, 423 (1986); see also Pa.R.C.P. No. 1061(b)(1).' To establish
this type of quiet title action and be entitled to an order compelling the defendant to
bring an ejectment action, the plaintiff must prove that: (1) it is in possession of the
property; (2) the defendant is out of possession of the property; and (3) there is a
dispute as to the property’s title. Seven Springs Farm, Inc. v. King, 235 Pa. Super.
450, 454, 344 A.2d 641, 644 (1975); Hoffman v. Bozitsko, 198 Pa. Super. 553, 557,
182 A.2d 113, 115 (1962). Furthermore, establishing possession of the property by
the plaintiff at the time the proceeding is instituted is a jurisdictional prerequisite
for a quiet title action seeking to compel a defendant to file an ejectment action.
Siskos, 567 Pa. at 700, 790 A.2d at 1007. An out-of-possession plaintiff will not
be permitted to maintain this type of quiet title action, because doing so would
enlarge the plaintiffs substantive rights and exceed the court’s jurisdiction. Jd. at
702, 790 A.2d at 1008.

In order to establish its quiet title action, the Game Commission needed to

plead facts demonstrating that it possessed the premises’s coal, oil, gas, petroleum,

 

A federal court sitting in diversity must apply state substantive law and
federal procedural law. Liggon-Redding v. Estate of Sugarman, 659 F.3d 258, 262
(3 Cir. 2011).
and mineral rights at the time it filed its Complaint. As part of its quiet title action,
the Game Commission sought an order from this Court directing the Trust to
“bring an appropriate action within thirty days against the [Game Commission]”
and if no such action was brought, to declare the Trust’s rights to the premises’s
coal, oil, gas, petroleum, and mineral rights null and void and that the Game
Commission was the “indefeasible owner of the fee simple absolute” in the
premises. (Complaint, 10-11). Thus, the Game Commission is attempting to
assert a quiet title action seeking an order to compel the Trust to bring an ejectment
action asserting its claim to or interest in the premises’s coal, oil, gas, petroleum,
and mineral rights or forever be barred from attacking the Game Commission’s
claim of title to those rights. Therefore, the Game Commission must plead facts
establishing that it possessed those rights at the time it filed its Complaint in order
to satisfy the jurisdictional prerequisite for and element of its quiet title action.

(2) The Game Commission failed to plead any facts demonstrating that it
exercised dominion over the premises’s coal, oil, gas, petroleum, or
mineral rights at the time it filed its Complaint.

To possess property means to exercise dominion over it. Watkins v.
Watkins, 2001 PA Super. 128, 775 A.2d 841, 846 (2001); Moore v. Duran, 455 Pa.
Super. 124, 134, 687 A.2d 822, 827 (1996), app. denied, 549 Pa. 703, 700 A.2d
442 (1997). Possession is not the equivalent of nor does it require occupancy.

Watkins, 775 A.2d at 846; Moore, 455 Pa. Super. at 134, 687 A.2d at 827. Further,
there is no fixed rule for determining possession. Watkins, 775 A.2d at 846.

Often, it will depend on the facts of the case and, to a large extent, on the
property’s characteristics. Id.; Moore, 455 Pa. Super. at 134, 687 A.2d at 827; see
also Shaffer v. O’Toole, 2009 PA Super. 6, 964 A.2d 420, 424 (2009), app. denied,
602 Pa. 679, 981 A.2d 220 (2009) (the requirements for possession will vary based
on the property’s nature).

The Game Commission has failed to pled facts establishing that it possessed
the premises’s coal, oil, gas, petroleum, and mineral rights at the time it filed its
Complaint. The Game Commission’s Complaint is devoid of any factual
allegations demonstrating how the Game Commission exercised dominion over the
premises’s coal, oil, gas, petroleum, and mineral rights. The Complaint, however,
does contain factual allegations setting forth the Game Commission’s alleged title
to these rights. (See Complaint, {f 7, 12, 12a-12f, 13). This fails to establish
dominion, because legal title is not equivalent to possession. Therefore, the Game
Commission has failed to establish the jurisdictional prerequisite for and element
of its quiet title action.

Accordingly, the Game Commission has failed to state a claim upon which

relief may be granted.
4. Conclusion.

The Court must grant the Trust’s Motion to Dismiss. To establish its quiet

title action, the Game Commission must plead facts demonstrating that it possessed

the premises’s coal, oil, gas, petroleum, and mineral rights at the time it filed its

Complaint. The Game Commission has failed to plead any facts demonstrating

this. Accordingly, the Game Commission has failed to state a claim upon which

relief may be granted, and the Court must dismiss with prejudice the Game

Commission’s Complaint and all of the claims asserted therein.

Date: December 14, 2012

Respectfully submitted:

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VS. : JUDGE: Christopher C. Conner

THOMAS E. PROCTOR HEIRS

TRUST,
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Defendant

Certificate of Service

I, Thomas Waffenschmidt, Esquire, hereby certify that on December 14,
2012 the foregoing Thomas E. Proctor Heirs Trust’s Brief in Support of Motion to
Dismiss was filed with the Court’s ECF System and served via the ECF System.

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